
OPINION OF THE COURT
JOHN DEAN MOXLEY, JR., Circuit Judge.
This case involved the prosecution of a charge of resisting an officer without violence in violation of Section 843.02 Florida Statutes. Three witness for the government as well as Defendant testified at the trial. Thereafter the trial court enforced a ten minute limitation on closing arguments. In light of the quantity of evidence adduced during this trial, we hold that the enforcement of a ten minute time limitation on *35closing argument for the Defendant violated due process of law. Stanley v State, 453 So.2d 530 (DCA 5 1985). We therefore reverse the judgment and sentence and remand this case for a new trial. JACKSON, EDWARD M.; and HARRIS, CHARLES M., concur.
